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   9   B. Pollard, W. Puckett, N. Romero, C. Spencer,
       and K. Thomas
  10
  11                      IN THE UNITED STATES DISTRICT COURT
  12                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
  13
  14
       LAFONZO R. TURNER,                             2:14-cv-04758 JVS (AGR)
  15
                                       Plaintiff, NOTICE OF MOTION AND
  16                                              MOTION FOR SUMMARY
                    v.                            JUDGMENT BASED ON
  17                                              PLAINTIFF’S FAILURE TO
       B. M. CASH, et al.,                        EXHAUST ADMINISTRATIVE
  18                                              REMEDIES; MEMORANDUM OF
                                     Defendants. POINTS AND AUTHORITIES
  19
                                                      Judge:        The Honorable
  20                                                                Alicia G. Rosenberg
                                                      Action Filed: June 19, 2014
  21
  22        TO PLAINTIFF LAFONZO R. TURNER, PRO SE:
  23        PLEASE TAKE NOTICE that Defendants M. Buechter, A. Cain, B. Cash, L.
  24   Crawford, T. Cromwell, A. Fears, J. Fernandez (Galpon), C. Fortson, M. Godina, S.
  25   Lett, J. Mendoza, B. Pollard, W. Puckett, N. Romero, C. Spencer, and K. Thomas
  26   (“Defendants”) hereby move this Court under Federal Rule of Civil Procedure 56
  27   for summary judgment based on the failure of Plaintiff Lafonzo R. Turner
  28   (“Plaintiff”), to exhaust available administrative remedies prior to filing suit, as

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   1   required by the Prison Litigation Reform Act (“PLRA”), 42 U.S.C. § 1997e(a).
   2   Defendants are entitled to judgment as a matter of law because there is no genuine
   3   dispute of material fact that Plaintiff did not exhaust the available administrative
   4   remedies as to his claims asserted in this lawsuit, which requires dismissal of this
   5   action without prejudice.
   6        This Motion is based on this Notice of Motion and Motion for Summary
   7   Judgment; the accompanying Memorandum of Points and Authorities; the
   8   [Proposed] Statement of Uncontroverted Facts and Conclusions of Law; the
   9   Declaration of M. Voong; all pleadings and papers on file in this action; and such
  10   other matters as the Court may deem appropriate. Pursuant to the Court’s June 19,
  11   2017 Order (ECF No. 112), because Plaintiff is currently in custody, no hearing
  12   date is requested or noticed.
  13   Dated: July 7, 2017                            Respectfully submitted,
  14                                                  XAVIER BECERRA
                                                      Attorney General of California
  15                                                  GRETCHEN K. BUECHSENSCHUETZ
                                                      Supervising Deputy Attorney General
  16
  17
                                                      /s/ Danielle R. Hemple
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  21                                                  M. Godina, S. Lett, J. Mendoza,
                                                      B. Pollard, W. Puckett, N. Romero,
  22                                                  C. Spencer, and K. Thomas
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   1                MEMORANDUM OF POINTS AND AUTHORITIES
   2        Defendants M. Buechter, A. Cain, B. Cash, L. Crawford, T. Cromwell, A.
   3   Fears, J. Fernandez (Galpon), C. Fortson, M. Godina, S. Lett, J. Mendoza, B.
   4   Pollard, W. Puckett, N. Romero, C. Spencer, and K. Thomas (“Defendants”)
   5   respectfully submit the following Memorandum of Points and Authorities in
   6   support of their Motion for Summary Judgment.
   7                                    INTRODUCTION
   8        As a prison inmate bringing federal civil rights claims with respect to prison
   9   conditions, Plaintiff Lafonzo R. Turner (“Plaintiff”) was required under the Prison
  10   Litigation Reform Act (“PLRA”), 42 U.S.C. § 1997e(a), to exhaust available
  11   administrative remedies before initiating this action. His failure to do so requires
  12   dismissal of his claims and this action without prejudice.
  13                                     BACKGROUND
  14   I.   SUMMARY OF ALLEGATIONS IN THE OPERATIVE COMPLAINT.
  15        The following summary of the allegations in the operative Second Amended
  16   Complaint (“SAC,” ECF No. 94) is presented for the limited purpose of
  17   establishing the allegations and claims that Plaintiff was required to exhaust prior to
  18   bringing this lawsuit. Defendants do not admit the allegations, nor do they concede
  19   that the allegations are undisputed, material, or state cognizable claims for relief.
  20        Starting on June 25, 2010, while incarcerated at California State Prison, Los
  21   Angeles County (“CSP-LAC”), Plaintiff “peaceful[ly] protest[ed] . . . unlawful cell
  22   management.” (Second Am. Compl. (“SAC”) ¶ 20.) On June 26, 2010, at 7:20 a.m.,
  23   Defendant Thomas, a correctional sergeant, approached Plaintiff’s cell, made
  24   derogatory remarks, and warned Plaintiff that officers would be coming into his cell.
  25   (Id. ¶¶ 19, 24.) At 7:45 a.m., Defendant Thomas returned to Plaintiff’s cell with
  26   Defendant Cain, a correctional lieutenant, and asked Plaintiff to remove the
  27   covering from his cell door. (Id. ¶ 25.) Plaintiff expressed his willingness to comply
  28   but refused to “cuff-up” because he believed that he was being improperly deprived

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   1   of his property by placement on cell management status. (Id. ¶ 26.) Defendant Cain
   2   directed Defendant Thomas to assemble a cell extraction team. (Id. ¶ 28.)
   3        At 9:00 a.m., Defendants Crawford and Lett, both psychiatric technicians,
   4   came to Plaintiff’s cell and asked him to exit voluntarily. (Id. ¶ 29.) Defendants
   5   Crawford and Lett walked away after speaking with Plaintiff for approximately
   6   one-and-a-half minutes, telling him that he “was coming out one way or another.”
   7   (Id.) At 11:00 a.m., Defendant Cromwell, a correctional lieutenant, explained
   8   Plaintiff’s rights to him and again asked him to “cuff-up.” (Id. ¶ 30.) At 12:00 p.m.,
   9   Defendant Fernandez, also a correctional lieutenant, came to Plaintiff’s cell and
  10   requested his compliance. (Id. ¶ 31.) At 12:30 p.m., Defendant Fortson, a
  11   correctional captain, explained Plaintiff’s rights to him, asked him to comply with
  12   cell management status, and warned him that he would otherwise be subjected to a
  13   cell extraction. (Id. ¶¶ 32–33.)
  14        At 1:00 p.m., Defendant Fortson authorized the cell extraction. (Id. ¶ 33.)
  15   Defendants Cain and Thomas read Plaintiff the cell extraction admonishments. (Id.)
  16   Defendant Thomas deployed chemical agents into Plaintiff’s cell at 1:05 p.m., 1:06
  17   p.m., 1:08 p.m., 1:09 p.m., 1:13 p.m., 1:16 p.m., 1:20 p.m., 1:24 p.m., 1:27 p.m.,
  18   1:30 p.m., and 1:38 p.m. (Id. ¶¶ 35, 37–44, 46–47.) At 1:43 p.m., Defendant
  19   Thomas “instructed the cell extraction team to enter Plaintiff’s cell,” which they did
  20   at 1:48 p.m. (Id. ¶¶ 48–49.)
  21        Defendants Romero and Pollard entered the cell and repeatedly struck Plaintiff
  22   in the head and upper body with batons, as Defendant Spencer used his shield to pin
  23   Plaintiff down. (Id. ¶¶ 50, 52.) Defendants Fears, Godina, and Puckett entered the
  24   cell and began to punch, kick, and strike Plaintiff. (Id. ¶ 53.) After Plaintiff was
  25   placed in leg restraints and handcuffs, Defendants continued to strike Plaintiff for
  26   approximately two-and-a-half minutes. (Id. ¶ 54.)
  27        Defendants Cain, Fortson, Fernandez, Cromwell, Lett, and Crawford were
  28   present during the cell extraction, but they failed to intervene. (Id. ¶ 36.) Defendant

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   1   Mendoza, a correctional officer, video recorded the cell extraction but did not
   2   intervene. (Id. ¶ 55.) Defendant Cash, CSP-LAC’s warden, and Defendant Buechter,
   3   a correctional captain, “consented” to the excessive use of force and enforced
   4   policies that effectively ratified their subordinates’ conduct. (Id. ¶ 56.)
   5         Plaintiff alleges that he suffered cuts and bruises to his face, chest, back, arms,
   6   and legs, as well as chest pain from the use of chemical agents, and emotional
   7   distress. (Id. at 18.)
   8   II.   PROCEDURAL HISTORY
   9         Plaintiff’s original Complaint in this action was lodged on June 19, 2014.
  10   (ECF No. 20.) On August 7, 2014, the District Court denied Plaintiff’s request to
  11   proceed without prepayment of the filing fee, on the ground that the Complaint
  12   failed to state a claim. (ECF No. 3.) Plaintiff appealed to the Ninth Circuit, which
  13   on October 23, 2015, vacated and remanded, finding that the District Court had not
  14   determined that amendment would be futile and yet did not afford Plaintiff leave to
  15   amend. (ECF No. 17.)
  16         Plaintiff filed a First Amended Complaint (“FAC”) on December 9, 2015,
  17   asserting claims under the Eighth and Fourteenth Amendments. (ECF No. 30.)
  18   After service of the FAC, Defendants moved for partial dismissal on March 22,
  19   2016. (ECF No. 68.) While Defendants’ motion was pending, Plaintiff lodged a
  20   proposed SAC. (ECF No. 81.) On December 5, 2016, the District Court accepted
  21   the findings and recommendations of the Magistrate Judge regarding Defendants’
  22   motion and Plaintiff’s request for leave to amend. (ECF No. 93.)
  23         Pursuant to the District Court’s order, this action is now proceeding on the
  24   SAC (ECF No. 94) to the extent that it asserts Eighth Amendment claims against
  25   Defendants in their individual capacities, having dismissed all official-capacity and
  26   due-process claims without leave to amend. (ECF Nos. 89, 93.) Defendants
  27   answered the SAC on June 16, 2017. (ECF No. 111.)
  28         ///

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   1                    SUMMARY OF UNCONTROVERTED FACTS
   2        This action has been brought with respect to prison conditions under federal
   3   law. ([Proposed] Statement of Uncontroverted Facts & Conclusions of Law (“SUF”)
   4   No. 2.) It proceeds to the extent that the operative SAC asserts Eighth Amendment
   5   claims under 42 U.S.C. § 1983 against Defendants in their individual capacities.
   6   (SUF No. 3.) Plaintiff’s claims are premised on allegations concerning a calculated
   7   cell extraction that took place on June 26, 2010, while Plaintiff was incarcerated at
   8   CSP-LAC. (SUF No. 4.) Plaintiff alleges that Defendants Fears, Godina, Pollard,
   9   Puckett, Romero, Spencer, and Thomas used excessive force against him during the
  10   cell extraction. (Id.) Plaintiff alleges that Defendants Cain, Crawford, Cromwell,
  11   Fernandez, Fortson, Lett, and Mendoza were present during the cell extraction, but
  12   they failed to intervene. (Id.) Plaintiff alleges that Defendants Buechter and Cash
  13   “consented” to the excessive use of force and enforced policies that effectively
  14   ratified their subordinates’ conduct. (Id.) At the latest, Plaintiff brought these claims
  15   when the original Complaint was lodged on June 19, 2014, while he was a prisoner
  16   incarcerated by the California Department of Corrections and Rehabilitation
  17   (“CDCR”). (SUF Nos. 1, 5.)
  18        At the time when Plaintiff’s claims arose on June 26, 2010, the CDCR had an
  19   administrative appeal process whereby a prisoner under the CDCR’s jurisdiction,
  20   such as Plaintiff, could appeal any departmental decision, action, condition, or
  21   policy that had an adverse effect upon the inmate’s welfare. (SUF No. 6.) The
  22   CDCR’s Office of Appeals (“OOA”), formerly known as the Inmate Appeals
  23   Branch (“IAB”), receives and processes all non-medical inmate appeals submitted
  24   to the third and final level of the CDCR’s administrative appeal process. (SUF No.
  25   7.) To administratively exhaust the CDCR’s appeal process that was in effect prior
  26   to January 28, 2011, an appeal typically had to be both accepted for review at the
  27   third level and provided with a decision, which constituted the CDCR director’s
  28   decision on the appeal. (SUF No. 8.)

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    1        Eight appeals from Plaintiff were accepted for third-level review between June
    2   26, 2010, when Plaintiff’s claims in this lawsuit arose, and June 19, 2014, when the
    3   original Complaint, which brought these claims, was lodged, and subsequently
    4   provided a decision. (SUF Nos. 1, 4–5, 9.) However, none of these appeals pertain
    5   to allegations that Plaintiff was subjected to excessive force on June 26, 2010, in
    6   connection with a calculated cell extraction. (SUF No. 10.) Therefore, no decisions
    7   on appeals submitted by Plaintiff to the third level, which would exhaust
    8   administrative remedies, were issued between June 26, 2010, and June 19, 2014.
    9   (SUF No. 11.)
  10                                GROUNDS FOR MOTION
  11         The undisputed facts demonstrate that Plaintiff did not exhaust available
  12    administrative remedies with respect to any of his claims before bringing them in
  13    this lawsuit, in violation of the PLRA’s exhaustion requirement. This action must
  14    therefore be dismissed without prejudice.
  15                                STANDARD ON MOTION
  16         The PLRA requires that “a prisoner confined in any jail, prison, or other
  17    correctional facility” exhaust all available administrative remedies before initiating
  18    a civil action with respect to prison conditions. 42 U.S.C. § 1997e(a). Unexhausted
  19    claims must be dismissed without prejudice. Lira v. Herrera, 427 F.3d 1164, 1170
  20    (9th Cir. 2005) (citing McKinney v. Carey, 311 F.3d 1198, 1200 (9th Cir. 2002)
  21    (per curiam)).
  22         The demonstration of exhaustion is not a pleading requirement; rather, a
  23    plaintiff’s failure to exhaust administrative remedies is an affirmative defense that a
  24    defendant must raise and prove. Jones v. Bock, 549 U.S. 199, 204 (2007).
  25    Excluding “the rare event that a failure to exhaust is clear on the face of the
  26    complaint,” Albino v. Baca, 747 F.3d 1162, 1166 (9th Cir.) (en banc), the proper
  27    procedural vehicle for a defendant to raise the exhaustion affirmative defense is
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    1   through a motion for summary judgment under Rule 56 of the Federal Rules of
    2   Civil Procedure, id. at 1168.
    3        Under Rule 56, summary judgment should be granted “if the movant shows
    4   that there is no genuine dispute as to any material fact and the movant is entitled to
    5   judgment as a matter of law.” Fed. R. Civ. P. 56(a). A fact is “material” if it might
    6   affect the outcome of a case under the applicable substantive law. Anderson v.
    7   Liberty Lobby, Inc., 477 U.S. 242, 248 (1986). Irrelevant or unnecessary factual
    8   disputes are not material. Id. A dispute about a material fact is “genuine” if there is
    9   a sufficient evidentiary basis for a reasonable factfinder to find in favor of the
  10    nonmoving party. Id.
  11         The party moving for summary judgment bears the initial burden of
  12    demonstrating the absence of a genuine issue of material fact. Celotex Corp. v.
  13    Catrett, 477 U.S. 317, 323 (1986). In the specific context of moving for summary
  14    judgment based on the failure to comply with the PLRA’s exhaustion requirement,
  15    “the defendant’s burden is to prove that there was an available administrative
  16    remedy, and that the prisoner did not exhaust that available remedy.” Albino, 747
  17    F.3d at 1172. If the defendant satisfies this initial burden, “the burden shifts to the
  18    prisoner to come forward with evidence showing that there is something in his
  19    particular case that made the existing and generally available administrative
  20    remedies effectively unavailable to him.” Id. If the undisputed evidence, construed
  21    in the light most favorable to the prisoner, demonstrates a failure to exhaust
  22    available administrative remedies, then summary judgment should be granted. Id. at
  23    1166. However, if material facts related to exhaustion remain disputed and
  24    summary judgment is not deemed appropriate, the court rather than a jury should
  25    decide the disputed factual issues in a preliminary proceeding. Id.
  26         ///
  27         ///
  28         ///

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    1                                       ARGUMENT
    2   I.    COMPLIANCE WITH THE PRISON LITIGATION REFORM ACT’S
              EXHAUSTION REQUIREMENT IS A MANDATORY PREREQUISITE TO
    3         BRINGING FEDERAL CLAIMS IN A PRISONER CIVIL RIGHTS ACTION.
    4         The PLRA mandates that no action under 42 U.S.C. § 1983 or other federal
    5   law with respect to prison conditions “shall be brought . . . by a prisoner confined in
    6   any jail, prison, or other correctional facility until such administrative remedies as
    7   are available are exhausted.” 42 U.S.C. § 1997e(a). A claim must be dismissed
    8   without prejudice if a prisoner-plaintiff has not satisfied the PLRA’s pre-suit
    9   exhaustion requirement. Lira, 427 F.3d at 1170 (citing McKinney, 311 F.3d at
  10    1200).
  11          The PLRA requires “proper exhaustion,” Woodford v. Ngo, 548 U.S. 81, 84
  12    (2006), which in accordance with the principles of administrative law, “demands
  13    compliance with an agency’s deadlines and other critical procedural rules,” id. at 90.
  14    Although “[t]here is no question that exhaustion is mandatory under the PLRA and
  15    that unexhausted claims cannot be brought in court,” Jones, 549 U.S. at 211 (citing
  16    Porter v. Nussle, 534 U.S. 516, 524 (2002)), an inmate must only exhaust remedies
  17    that are available, Ross v. Blake, 578 U.S. ---, 136 S. Ct. 1850, 1855 (2016).
  18    II.   PLAINTIFF FAILED TO EXHAUST HIS AVAILABLE ADMINISTRATIVE
              REMEDIES REGARDING THE CLAIMS BROUGHT IN THIS ACTION.
  19
  20          As a prisoner in the custody of the CDCR, Plaintiff was required to exhaust
  21    the CDCR’s available administrative-appeal procedures for his federal claims
  22    regarding prison conditions before asserting them in this action. Because the
  23    undisputed evidence demonstrates that he failed to comply with this requirement,
  24    his claims must be dismissed without prejudice.
  25          The events alleged in this action occurred prior to January 28, 2011, when the
  26    CDCR’s administrative appeal procedures underwent significant revision. (See Decl.
  27    of M. Voong, Chief, Office of Appeals, in Supp. of Defs.’ Mot. for Summ. J. Based
  28    on Pl.’s Failure to Exhaust Administrative Remedies (“Voong Decl.”) ¶ 4.) Prior to

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    1   January 28, 2011, the appeal process consisted of an informal level of review and
    2   three formal levels of review. (SUF Nos. 6–10.) To exhaust the CDCR’s generally
    3   available administrative remedies concerning the claims brought in this lawsuit,
    4   Plaintiff was required to submit an appeal that was accepted for third-level review
    5   and obtain a third-level decision on that appeal, which constituted the CDCR
    6   director’s decision. (SUF No. 9.) Brodheim v. Cry, 584 F.3d 1262, 1265 (9th Cir.
    7   2009) (“The Third Formal Level, also referred to as the ‘Director’s Level,’ is the
    8   final avenue for administrative appeal.”). Plaintiff’s “obligation to exhaust
    9   ‘available’ remedies persist[ed] as long as some remedy remain[ed] ‘available,’”
  10    Brown v. Valoff, 422 F.3d 926, 935 (9th Cir. 2005), which under typical
  11    circumstances meant until he received a final, third-level decision, Draper v.
  12    Rosario, 836 F.3d 1072, 1077 n.2 (9th Cir. 2016); Collier v. Brown, 635 F. Supp.
  13    2d 1144, 1151 (C.D. Cal. 2009).
  14         Here, however, the evidence demonstrates that Plaintiff did not exhaust his
  15    administrative remedies concerning the allegations and claims raised in this action.
  16    The time period during which Plaintiff could have exhausted by obtaining a third-
  17    level decision was between June 26, 2010, when his claims arose, and June 19,
  18    2014, when the original Complaint, which brought these claims, was lodged. See
  19    Cano v. Taylor, 739 F.3d 1214, 1219 (9th Cir. 2014) (describing the PLRA’s
  20    exhaustion requirement as “a precondition to suit”); Vaden v. Summerhill, 449 F.3d
  21    1047, 1050 (9th Cir. 2006) (“‘[A]n action is “brought” for purposes of § 1997e(a)
  22    when the complaint is tendered to the district clerk,’” rather than when it might be
  23    “subsequently filed.”) (quoting Ford v. Johnson, 362 F.3d 395, 400 (7th Cir. 2004)).
  24         Eight appeals from Plaintiff were accepted for third-level review—a
  25    prerequisite to obtaining a third-level decision—between June 26, 2010, and June
  26    19, 2014, and subsequently provided with a third-level decision. (SUF Nos. 8–9.)
  27    None of these appeals pertain to, or serve to exhaust, the claims raised in this action
  28    regarding the use of excessive force on June 26, 2010. (SUF No. 10; Voong Decl.

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    1   ¶ 13(a), Ex. B (Appeal No. LAC-10-00854 concerning allegations that non-party
    2   Correctional Officer Wood pepper sprayed Plaintiff on May 17, 2010); id. ¶ 13(b),
    3   Ex. C (Appeal No. LAC-10-01114 concerning allegations that a Rules Violation
    4   Report, dated June 18, 2010, was improperly adjudicated on June 25, 2010); id.
    5   ¶ 13(c), Ex. D (Appeal No. LAC-10-01002 concerning access to legal materials); id.
    6   ¶ 13(d), Ex. E (Appeal No. LAC-10-01509 concerning allegations that a Rules
    7   Violation Report, dated August 16, 2010, was improperly adjudicated); id. ¶ 13(e),
    8   Ex. F (Appeal No. LAC-10-01524 concerning allegations that non-party
    9   Correctional Officer Wood fabricated a Rules Violation Report against Plaintiff); id.
  10    ¶ 13(f), Ex. G (Appeal No. LAC-11-00589 concerning allegations that a Rules
  11    Violation Report, dated June 30, 2011, was improperly adjudicated); id. ¶ 13(g), Ex.
  12    H (Appeal No. PBSP-12-01651 concerning damage to Plaintiff’s television
  13    allegedly caused by staff at Pelican Bay State Prison); id. ¶ 13(h), Ex. J (Appeal
  14    No. SAC-14-00698 concerning Plaintiff’s personal property allegedly lost by prison
  15    staff during February 2014).) Accordingly, no decisions on appeals submitted by
  16    Plaintiff to the third level, which would exhaust administrative remedies, were
  17    issued during the relevant time period. (SUF No. 11.)
  18         It is therefore undisputed that Plaintiff did not exhaust his claims in this
  19    lawsuit at the third and final level of CDCR review. Rather, Plaintiff filed the
  20    instant lawsuit instead of first availing himself of all of CDCR’s internal
  21    administrative procedures. Although an administrative remedy remained available
  22    to Plaintiff in the form of a third-level decision, he failed to exhaust that remedy as
  23    to the claims he now seeks to litigate. Therefore, this action must be dismissed
  24    without prejudice.
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  26         ///
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    1                                     CONCLUSION
    2        For the reasons set forth above, this action should be dismissed without
    3   prejudice based on Plaintiff’s failure to exhaust available administrative remedies.
    4   Dated: July 7, 2017                           Respectfully submitted,
    5                                                 XAVIER BECERRA
                                                      Attorney General of California
    6                                                 GRETCHEN K. BUECHSENSCHUETZ
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    7
    8
                                                      /s/ Danielle R. Hemple
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